Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 1 of 10

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Boston Area Office
John F, Kennedy Federal Building
Government Center, Room 475
Boston, MA 02203-0506
Toll Free Number: (866) 408-8075
Boston Direct Dial: (617) 565-4805

 

Internet: www.ceoc.g0Vv Boston Direct Line: (617) 565-3200
Email: info@eeoc.gov TTY: (617) 565-3204

FAX: (617) 565-3196
Bernard H. Hicks
114 Alban Street
Boston, MA 02124

Re: Hicks v. MASSDOT
EEOC Charge No. 16C-2019-00425 MAR 95 1919

Dear Mr. Hicks:

The Equal Employment Opportunity Commission (hereinafter referred to as the
"Commission") has reviewed the above-referenced charge according to our charge prioritization
procedures. These procedures, which are based on a reallocation of the Commission's staff
resources, apply to all open charges in our inventory and call for us to focus our limited
resources on those cases that are most likely to result in findings of violations of the laws we

enforce.

In accordance with these procedures, we have examined your charge based upon the
information and evidence you submitted. You allege you were subjected to employment
discrimination including retaliation by MASSDOT because of your disability in violation of the
Americans with Disabilities Act of 1990, as amended (ADA).

Based upon this analysis the Commission is unable to conclude that the information
establishes a violation of Federal law on the part of Respondent. This does not certify that
Respondent is in compliance with the statutes. No finding is made as to any other issue that
might be construed as having been raised by this charge.

The Commission’s processing of this charge has been concluded. Included with this letter

is your Notice of Dismissal and Right to Sue. Following this dismissal, you may only pursue

this matter by filing suit against the Respondent named in the charge within 90 days of receipt of

said notice. Otherwise, your right to sue will be lost. = ~3

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If you have any questions, please contact Enforcement Supervisor Anthony Pine-at 617=
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Sincerel Re F

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Kenneth An, JD...
Area Office Director

 

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gai
Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 2 of 10

SCG Form 5 (11409) |

191300 16

 

 

 

 

 

CHARGE OF DISCRIMINATION - - | Charge Presented To: + Ageney(les) Charge No(s):
This form is affected by the Privacy Aci of 1874. See enclosed Privacy Act ~ [-] Fera
Ststement and other infonmatcn befora completing this form. :
. | [X] eeoc 23-2019-00717

__,, Massachusetts Commission Against Discrimination and EEOC
Stata or local Agency, # any |
Name ftocicote Mi, 24S, 2s) : Home Phona fiacl. Ares Cove) DasofBinh |

Mr. Bernard H. Hicks (617) 828-9656

 

 

 

Street Address
114 Alabn Street, Dorchester, MA 02124

City, State and ZIP Coda

 

Named Is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Bafeve ~

 

Discriminated Against Me or Others. {if mors than two, list under PARTICULARS below.)

Phana No. {include Area Code)

 

 

 

 

 

 

 

Name Na. Employees, Mombors :
MASSDOT . 201-500 | (857)368-8925 |
Street Address City, State and ZIP Coda |
10 Park Plaza, Boston, MA 02116: ts

Name No. Empleyens, Membem | Phone No. {include Area Code}
Street Address Gly, Sala and ZP Code

 

 

DISCRIMINATION BASED ON (Gheck appropriate box(@3},)
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L_| HATIONAL ORIGIN

[x] RETAUATION [| ase. T] DISABILITY C | GENETIC INFORMATION

‘DATE(S) DISCRIMINATION TOOK PLACE
: Eartest Latest

42-24-2018 = =. 01-14-2079

 

[EX] conmuuns acon

 

THE PARTICULARS ARE {if additional paper is avaved, attach extra sheal{s)):
This charge of retaliation is in connection to

On December 24, 2048, | emailed Ms. Rota (maria.rota@state.ma.us) and cc:’d Stephanie Pollack
(Stephanie.Pollack@dot.state.ma.us) to request Information, Subject: Employment Request, (see
‘attached). { requested a response by 5PM on December 27, 2018, but never heard back from anyone

regarding my request.

On January 14, 2019, i sent another email to Ms. Rota and Ce:'d Ms. Pollack. To this day, | have not
December 24, 2018 and January 14, 2079 email. | belteve this is ongoing
harassment and in retaliation to my complaint, which has exasperated my disability and debllitated
my health, causing a financial strain on me and my family.

| believe 1 am a victim of unlawful employment discrimination due to ongoing retaliation by

received a response to the

Respondent.

Charge No. 16C-2019-00425

 

 

Twant this charge filed with both the EEG and the Stale or focal Aganty, Hf any. \.
will advise the agencies If change my address of phene number and [will

NOTARY — When ascessory for Steta end Laval Agency Requiremenis

 

cooperate fully with them inthe processing of my charge in accordance with their
procedures. :

 

I deciare under penalty of pequry that the above is true and correct.

‘SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE

 

afaa] it Benard His \, _

Charging Parly Signature .

t swear cr affirn that | have read the above charga and thal it fs true ta
the best of my knowledge, Information and belief.
SIGNATURE OF COMPLAINANT

(month, day, yea)

 

 

  

 
Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 3 of 10

EEOC Form 161 (14/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: Bernard H. Hicks From: Boston Area Office
114 Alban Street John F. Kennedy Fed Bldg
Boston, MA 02124 Government Ctr, Room 475

Boston, MA 02203

 

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Anthony M. Pino, Jr.,
16C-2019-00425 Enforcement Supervisor (617) 565-3192

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

HO RBOUOUUU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title VIl, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.:

On behalf of the Commission

Reaucth bu MAR 05 2019

 

Enctosures(s) foo... Feng K. An, . (Date Mailed)
Area Office Director
ce:
MASSDOT
10 Park Plaza
Boston, MA 02116

Attn. HR Director
Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 4 of 10

NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix, and other ADA related publications, available at

http://www.ecoc.gov/laws/types/disability_regulations.cfm.

 

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> The limitations from the impairment no longer have to be severe or significant for the impairment to
be considered substantially limiting.

> In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,

learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §

1630.2(1)), “major life activities” now include the operation of major bodily functions, such as:

functions of the immune system, special sense organs and skin; normal cell growth; and digestive,

genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,

hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ

within a body system.

Only one major life activity need be substantially limited.

With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating

measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

considered in determining if the impairment substantially limits a major life activity.

> An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
cancer) is a disability if it would be substantially limiting when active.

> An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
months.

Vv

“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
condition, or privilege of employment).

> “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
limiting, or that the employer perceives the impairment to be substantially limiting.

>» The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
BOTH transitory (lasting or expected to last six months or less) AND minor.

> A person is not able to bring a failure to accommodate claim if the individual is covered only under the
“regarded as” definition of “disability.”

Note: Although the amended ADA States that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.ceoc.gov/laws/types/disability regulations.cfm.
Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 5 of 10

Enclosure with EEOC
Form 161 (11/16)

INFORMATION RELATED TO FILING SUIT
UNDER THE LAWs ENFORCED BY THE EEOC

(This information relates to filing suit in Federal or State court under Federal law.
!f you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

PRIVATE SUIT RIGHTS

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court, If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUITRIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title Vil, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VIl, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 6 of 10

U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

Boston Area Office
John F. Kennedy Federal Building
Government Center, Room 475
Boston, MA 02203-0506
Toll Free Number: (866) 408-8075
Boston Direct Dial: (617) 565-4805
Internet: www.cecc.Zov Boston Direct Line: (617) 565-3200
Email: info@eeoc.gov TTY: (617) 565-3204
FAX: (617) 565-3196
Bernard H. Hicks
114 Alban Street
Dorchester, MA 02124
Re: Hicks v. MASSDOT MAR 05 2019

EEOC Charge No. 523-2019-00717
Dear Mr. Hicks:

The Equal Employment Opportunity Commission (hereinafter referred to as the
"Commission") has reviewed the above-referenced charge according to our charge prioritization
procedures. These procedures, which are based on a reallocation of the Commission's staff
resources, apply to all open charges in our inventory and call for us to focus our limited
resources on those cases that are most likely to result in findings of violations of the laws we
enforce.

In accordance with these procedures, we have examined your charge based upon the
information and evidence you submitted. You allege you were subjected to employment
discrimination including retaliation because of your disability in violation of the Americans with
Disabilities Act of 1990, as amended (ADA).

Based upon this analysis the Commission is unable to conclude that the information
establishes a violation of Federal law on the part of Respondent. This does not certify that
Respondent is in compliance with the statutes. No finding is made as to any other issue that
might be construed as having been raised by this charge.

The Commission’s processing of this charge has been concluded. Included with this letter
is your Notice of Dismissal and Right to Sue. Following this dismissal, you may only pursue
this matter by filing suit against the Respondent named in the charge within 90 days of receipt of
said notice. Otherwise, your right to sue will be lost.

If you have any questions, please contact Enforcement Supervisor Anthony Pino at 617-_,

 

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Area Office Director

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Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 7 of 10

EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

To: Bernard H. Hicks From: Boston Area Office

114 Alabn Street John F. Kennedy Fed Bldg

Dorchester, MA 02124 Government Ctr, Room 475

Boston, MA 02203
[ ] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Anthony M. Pino, Jr.,

§23-2019-00717 Enforcement Supervisor (617) 565-3192

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs tess than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UO BHUOUOUU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible. FO ‘

Ait behalf of ph cong ion ;
, MAR 9 5 1019 _

Enclosures(s) i. : “Feng K. An, ” (Date Mailed)
Area Office Director

 

MASSDOT
10 Park Plaza
Boston, MA 02116
Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 8 of 10

EEOC Form 5 (11/09)

 

 

 

 

 

 

CHARGE OF DISCRIMINATION Charge Presented To: Agency(ies) Charge No(s):
This form is affected by the Privacy Act of 1974. S closed Pri Act
Siatement anil other InfoeratiOn Dafne conplcting fil oul. _ [| FEPA
[X] Eeoc 523-2019-00717

Massachusetts Commission Against Discrimination and EEOC
State or local Agency, if any |
Name (indicate Mr., Ms., Mrs.) Home Phone (Incl. Area Code) Date of Birth |

Mr. Bernard H. Hicks (617) 828-9656

 

 

 

Street Address City, State and ZIP Code
114 Alabn Street, Dorchester, MA 02124

 

Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Discriminated Against Me or Others. (/f more than two, list under PARTICULARS below.)

 

 

 

 

Name No. Employees, Members Phone No. (Include Area Code)
MASSDOT 201 - 500 (857) 368-8925
Street Address City, State and ZIP Code

10 Park Plaza, Boston, MA 02116

 

 

 

 

 

Name No. Employees, Members Phone No, (Include Area Code)

Street Address City, State and ZIP Code

DISCRIMINATION BASED ON (Check appropriate box(es).) DATE(S) DISCRIMINATION TOOK PLACE
Earliest Latest

[| RACE [| COLOR [| SEX [| RELIGION [| NATIONAL ORIGIN 12-24-2018 01-14-2019
RETALIATION [| AGE [| DISABILITY [| GENETIC INFORMATION

[| OTHER (Specify) CONTINUING ACTION

 

 

THE PARTICULARS ARE (if additional paper is needed, attach extra sheet(s)):
This charge of retaliation is in connection to Charge No. 16C-2019-00425

On December 24, 2018, | emailed Ms. Rota (maria.rota@state.ma.us) and cc:'d Stephanie Pollack
(Stephanie.Pollack@dot.state.ma.us) to request information, Subject: Employment Request, (see
attached). | requested a response by 5PM on December 27, 2018, but never heard back from anyone
regarding my request.

On January 14, 2019, | sent another email to Ms. Rota and Cc:'d Ms. Pollack. To this day, | have not
received a response to the December 24, 2018 and January 14, 2019 email. | believe this is ongoing
harassment and in retaliation to my complaint, which has exasperated my disability and debilitated
my health, causing a financial strain on me and my family.

| believe | am a victim of unlawful employment discrimination due to ongoing retaliation by
Respondent.

 

 

I want this charge filed with both the EEOC and the State or local Agency, if any. | NOTARY — When necessary for State and Local Agency Requirements
will advise the agencies if | change my address or phone number and | will
cooperate fully with them in the processing of my charge in accordance with their

 

 

 

procedures. | swear or affirm that | have read the above charge and that it is true to
| declare under penalty of perjury that the above is true and correct. the best of my knowledge, information and belief.
SIGNATURE OF COMPLAINANT

“A SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
aA / a / l 7 Bacnedl tw ty (month, day, year)
: Dat

Charging Party Signature

 

 

 
"s Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 9 of 10

Enctosure with EEOC
Form 161 {11/46)
INFORMATION RELATED TO FILING SUIT
UNDER THE LAWS ENFORCED BY THE EEOC
(This information relates to filing suit in Federal or State court under Federal law.
If you also plan to sue claiming violations of State law, please be aware that time limits and other
provisions of State law may be shorter or more limited than those described below.)

PRIVATE SUIT RIGHTS Title Vil of the Civil Rights Act, the Americans with Disabilities Act (ADA),

the Genetic Information Nondiscrimination Act (GINA), or the Age
Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a “complaint" that contains a short
Statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS -- Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 — not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vil, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION -- Title VIl, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 80 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE’ -- All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EECC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next $0 days.)

IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
te Case 1:19-cv-11250-IT Document 1-1 Filed 06/05/19 Page 10 of 10
-CP Enclosure with EEOC Form 5 (11/08)

Privacy Act STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request
personal data and its uses are:

4. Form NUMBERI/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).
2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to
writing (whether later recorded on this form or not) are, as applicable under the EEOC anti-
discrimination statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes,
to invoke the EEOC's jurisdiction and, where dual-filing or referral arrangements exist, to begin
state or local proceedings.

4. ROUTINE UsEs. This form is used to provide facts that may establish the existence of matters
covered by the EEOC statutes (and as applicable, other federal, state or local laws). Information
given will be used by staff to guide its mediation and investigation efforts and, as applicable, to
determine, conciliate and litigate claims of unlawful discrimination. This form may be presented to
or disclosed to other federal, state or local agencies as appropriate or necessary in carrying out
EEOC's functions. A copy of this charge will ordinarily be sent to the respondent organization
against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NoT GIVING INFORMATION. Charges must be
reduced to writing and should identify the charging and responding parties and the actions or
policies complained of. Without a written charge, EEOC will ordinarily not act on the complaint.
Charges under Title VII, the ADA or GINA must be sworn to or affirmed (either by using this form
or by presenting a notarized statement or unsworn declaration under penalty of perjury); charges
under the ADEA should ordinarily be signed. Charges may be clarified or amplified later by
amendment. It is not mandatory that this form be used to make a charge.

NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges
with EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be
first handled by a FEPA under worksharing agreements. You will be told which agency will handle
your charge. When the FEPA is the first to handle the charge, it will notify you of its final
resolution of the matter. Then, if you wish EEOC to give Substantial Weight Review to the F EPA's
final findings, you must ask us in writing to do so within 15 days of your receipt of its findings.
Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the charge.

Notice oF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is
taken against you or others who oppose discrimination or cooperate in any investigation or
lawsuit concerning this charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA,
Section 503(a) of the ADA and Section 207(f) of GINA, it is unlawful for an employer to
discriminate against present or former employees or job applicants, for an employment agency to
discriminate against anyone, or for a union to discriminate against its members or membership
applicants, because they have opposed any practice made unlawful by the statutes, or because
they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section
503(b) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights
under the Act.
